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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

 

 

UNITED STATES OF AMERICA, : No. 3:17-CR-71-WHR
Plaintiff, : FIRST SUPERSEDING
: INDICTMENT
VS.
‘ 18 U.S.C. § 2339B(a)(1)
LAITH WALEED ALEBBINI, : Forfeiture
Defendant.

The Grand Jury for the Southern District of Ohio charges:

COUNT ONE
(18 U.S.C. § 2339B(a)(1))

On an exact date that is unknown, but at least by on or about April 26, 2017, in the
Southern District of Ohio, and elsewhere, the defendant, LAITH WALEED ALEBBINI,
having knowledge that the Islamic State of Iraq and al-Sham (also known as the Islamic State of
Iraq and the Levant, Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-‘Iraq wa-sh-
Sham, Dawla al Islamiya, ISIL, and ISIS) (collectively “ISIS” is a designated foreign terrorist
organization, that ISIS has engaged or engages in terrorist activity, and that ISIS has engaged or
engages in terrorism, knowingly attempted to provide material support and resources to a foreign
terrorist organization (namely, ISIS), in the form of personnel (namely, himself) to work under

ISIS’s direction and control.

In violation of Title 18, United States Code, Section 2339B(a)(1).
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COUNT TWO
(18 U.S.C. § 2339B(a)(1))

Between an exact beginning date that is unknown, but at least by on or about April 26,
2017, and the date of this First Superseding Indictment, in the Southern District of Ohio and
elsewhere, the defendant, LAITH WALEED ALEBBINI (“Defendant”), having knowledge
that the Islamic State of Iraq and al-Sham (also known as the Islamic State of Iraq and the
Levant, Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-‘Iraq wa-sh-Sham, Dawla al
Islamiya, ISIL, and ISIS) (collectively “ISIS’’) is a designated foreign terrorist organization, that
ISIS has engaged or engages in terrorist activity, and that ISIS has engaged or engages in
terrorism, conspired with at least one other person to provide material support and resources to a
foreign terrorist organization (namely, ISIS), in the form of personnel (namely, at least
Defendant) to work under ISIS’s direction and control.

In violation of Title 18, United States Code, Section 2339B(a)(1).
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FORFEITURE

Upon conviction of any or all of the offenses charged in this First Superseding

Indictment, the defendant, LAITH WALEED ALEBBINI, shall, pursuant to 18 U.S.C.

§ 981(a)(1)(C), 18 U.S.C. § 981(a)(1)(G)(i)-(iv), and 28 U.S.C. § 2461(c), forfeit to the United

States:

All of his assets, foreign or domestic (18 U.S.C. §§ 981(a)(1)(G)(@) and
(iv) and 28 U.S.C. § 2461(c));

All assets acquired or maintained by any person with the intent and for the
purpose of supporting, planning, conducting, or concealing any of the
offenses charged in this Indictment (18 U.S.C. § 981(a)(1)(G)(ii) and 28
U.S-C,8 2461 (c));

All assets derived from, involved in, or used or intended to be used to
commit any of the offenses charged in the Indictment (18 U.S.C.

§ 981(a)(1)(G) Git) and 28 U.S.C. § 2461(c));

Any property, real or personal, which constitutes or is derived from
proceeds traceable to any of the offenses charged the Indictment (18

U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)).

Such assets include, but are not limited to: (1) a black in color, “Blu” brand, cell phone with a
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cracked screen, and (2) an HP laptop computer, model number 15-1233wm, bearing serial

number appearing to be SCD537AD81.

A True Bill.

     

Grarid Jury Foreperson

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dal

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